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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MIGUEL ANGEL SANCHEZ
 6
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )
11                                           ) Case No. CR.S-04-381-FCD
                         Plaintiff,          )
12                                           )
           v.                                )  AMENDED STIPULATION AND ORDER;
13                                           )         EXCLUSION OF TIME
                                             )
14                                           )
     MIGUEL ANGEL SANCHEZ, et al.,           ) Date: June 20, 2005
15                                           ) Time: 9:30 a.m.
                    Defendant.                 Judge: Honorable Frank C. Damrell
16   _____________________________

17         IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, SAMUEL WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, CHRIS HAYDEN-MAYER,

20   ESQ., JESSE ORTIZ, ESQ., attorneys for defendants Miguel Angel Sanchez,

21   Ricardo Salas, Oscar Canizales, that the previously scheduled change of

22   plea hearing date of May 31, 2005 be vacated and the matter set for

23   change of plea on June 20, 2005 at 9:30 am.

24         This continuance is requested because defense counsel Reichel

25   will be out of town on training May 31st through June 6th.                 As well, all

26   defense counsel also need additional time to review discovery with the

27   defendant, conduct legal research, perform background factual

28   Stip and Order
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 1   investigation, and properly prepare for a potential change of plea.
 2          Accordingly, all counsel and the defendant agree that time under
 3   the Speedy Trial Act from the date this stipulation is lodged, through
 4   June 20, 2005, should be excluded in computing the time within which
 5   trial must commence under the Speedy Trial Act, pursuant to Title 18
 6   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.           Additionally, there is
 7   a motion pending in the magistrate court which is scheduled for July
 8   15, 2005, so time will be excluded under Local Code E up until that
 9   time, July 15, 2005.
10   DATED:     May 27, 2005.                  Respectfully submitted,
11                                                   QUIN DENVIR
                                                     Federal Public Defender
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13
     DATED:     May 27, 2005.                        /s/MARK J. REICHEL
14                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
15                                                   Attorney for Defendant
16
                                                     /s/MARK J. REICHEL
17                                                   CHRISTOPHER HAYDEN MEYER,ESQ
                                                     Attorney for Defendant
18
19                                                   /s/MARK J. REICHEL
                                                     JESSE ORTIZ, ESQ
20                                                   Attorney for Defendant
21
22                                                   McGREGOR SCOTT
                                                     United States Attorney
23
24
     DATED:     May 27, 2005.                        /s/MARK J. REICHEL for
25                                                   SAMUEL WONG
                                                     Assistant U.S. Attorney
26                                                   Attorney for Plaintiff
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     Stip and Order                            2
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 1                                       ORDER
 2          That the previously scheduled change of plea hearing date of
 3   May 31, 2005 be vacated and the matter set for change of plea on
 4   June 20, 2005 at 9:30 am.
 5          The court finds that the interests of justice in granting the
 6   continuance outweighs the public's interest in a speedy trial and
 7   therefore time is excluded in the interests of justice pursuant to
 8   18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4 and Local Code E.
 9   IT IS SO ORDERED.
10
     DATED: May 27, 2005
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                                                     /s/ Frank C. Damrell Jr.
12                                                   FRANK C. DAMRELL, JR.
                                                     United States DISTRICT JUDGE
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     Stip and Order                              3
